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 6   REGINALD THOMAS
 7
                                    UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9
                                          SACRAMENTO DIVISION
10

11   UNITED STATES OF AMERICA,                 )                 NO. 2:11-cr-00216-MCE
                                               )
12         Plaintiff,                          )                 STIPULATION AND ORDER
                                               )                 TO CONTINUE SENTENCING
13   vs.                                       )
                                               )
14   REGINALD THOMAS,                          )
                                               )
15         Defendant.                          )
     __________________________________________)
16

17          Defendant REGINALD THOMAS, by and through his attorney, Colin Cooper, the UNITED
18
     STATES, by and through Assistant United States Attorney Matthew Morris, hereby stipulate and
19
     agree to continue the sentencing in the above-captioned case set for January 8, 2015 to February 5,
20
     2015, at 9:00 a.m.
21
            The parties further stipulate and agree that the period from January 8, 2015 to February 5,
22
     2015 is excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161
23

24
     (h)(7)(iv) for the effective preparation of counsel.

25          The requested continuance is based on the fact that the parties need more time to discuss the

26   level of credit that Mr. Thomas should receive for his cooperation. Mr. Thomas’ criminal history is
27   unique and the defense believes that it is overstated. The parties need more time to consider Mr.
28
     Thomas’ criminal history before the Government prepares a 5K1.1 letter for the court and the



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 1   defense finishes its sentencing brief. Thus, the parties are asking to continue the sentencing until
 2
     February 5, 2015.
 3

 4
     DATED: January 7, 2015                               /s/ COLIN L. COOPER
 5                                                 Attorney for Defendant REGINALD THOMAS
 6

 7
     DATED: January 7, 2015                               /s/ MATTHEW MORRIS
 8
                                                   Assistant United States Attorney
 9

10
                                                    ORDER
11

12          GOOD CAUSE APPEARING, in that it is the stipulation of the parties: the sentencing

13   scheduled for January 8, 2015, at 9:00 a.m. is vacated and the matter is set for sentencing on
14
     February 5, 2015, at 9:00 a.m.
15
            IT IS SO ORDERED.
16
     DATED: January 14, 2015
17

18                                                _____________________________________________
                                                  MORRISON  N C. ENGLLAND, JR, C
                                                                               CHIEF JUDG  GE
19                                                UNITED ST TATES DISSTRICT COU  URT
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